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                                                                FILED: October 18, 2023

                          UNITED STATES COURT OF APPEALS
                              FOR THE FOURTH CIRCUIT

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                                           No. 23-1890
                                      (8:23-cv-01380-DLB)
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        TAMER MAHMOUD; ENAS BARAKAT; JEFF ROMAN; SVITLANA
        ROMAN; CHRIS PERSAK; MELISSA PERSAK, in their individual capacities
        and ex rel. their minor children; KIDS FIRST, an unincorporated association

                    Plaintiffs - Appellants

        v.

        MONIFA B. MCKNIGHT; SHEBRA EVANS; LYNNE HARRIS; GRACE
        RIVERA-OVEN; KARLA SILVESTRE; REBECCA SMONDROWSKI;
        BRENDA WOLFF; JULIE YANG; MONTGOMERY COUNTY BOARD OF
        EDUCATION

                    Defendants - Appellees

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        DOUGLAS LAYCOCK, Professor; RICHARD W. GARNETT, Professor;
        HELEN M. ALVARE, Professor; THOMAS C. BERG, Professor; MICHAEL W.
        MCCONNELL, Professor; NICHOLAS BROWN; ZEINA EL DEBS; TIMOTHY
        JANSS; DAGMAR JANSS; STEPHANIE PATE; JEWISH COALITION FOR
        RELIGIOUS LIBERTY; COALITION OF VIRTUE; ISLAM AND RELIGIOUS
        FREEDOM ACTION TEAM; COALITION FOR JEWISH VALUES;
        COMMONWEALTH OF VIRGINIA AND 17 OTHER STATES; ETHICS AND
        PUBLIC POLICY CENTER; ERIC DEGROFF, Professor; COMMONWEALTH
        OF VIRGINIA AND 22 OTHER STATES; ADVANCING AMERICAN
        FREEDOM, INC.; PAUL TELLER; ALASKA FAMILY COUNCIL;
        AMERICAN FAMILY ASSOCIATION ACTION; AMERICAN VALUES;
        CATHOLIC VOTE; CENTER FOR POLITICAL RENEWAL; CHRISTIAN
        LAW ASSOCIATION; CHRISTIANS ENGAGED; EAGLE FORUM;
        FRONTLINE POLICY COUNCIL; IDAHO FAMILY POLICY CENTER;
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        INTERNATIONAL CONFERENCE OF EVANGELICAL CHAPLAIN
        ENDORSERS; MISSOURI CENTER-RIGHT COALITION; MINNESOTA
        FAMILY COUNCIL; MOMS FOR LIBERTY; NATIONAL ASSOCIATION OF
        PARENTS d/b/a PARENTSUSA; NEW JERSEY FAMILY FOUNDATION;
        NEW MEXICO FAMILY ACTION MOVEMENT; SETTING THINGS RIGHT;
        THE FAMILY FOUNDATION; THE JUSTICE FOUNDATION

                     Amici Supporting Appellants

                                      ___________________

                                           ORDER
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              Advancing American Freedom, Inc., Paul Teller, Alaska Family Council,

        American Family Association Action, American Values, Catholic Vote, Center for

        Political Renewal, Christian Law Association, Christians Engaged, Eagle Forum,

        Frontline Policy Council, Idaho Family Policy Center, International Conference of

        Evangelical Chaplain Endorsers, Missouri Center-Right Coalition, Minnesota

        Family Council, Moms for Liberty, National Association of Parents d/b/a

        ParentsUSA, New Jersey Family Foundation, New Mexico Family Action

        Movement, Setting Things Right, The Family Foundation and the Justice

        Foundation have filed an amicus curiae brief with the consent of the parties.

              The court accepts the brief for filing.

                                                For the Court--By Direction

                                                /s/ Nwamaka Anowi, Clerk
